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                                     Exhibit D

              Schedule of Deficient Claims with Undeliverable Addresses
                                  Case:17-03283-LTS Doc#:14624-4 Filed:10/20/20 Entered:10/20/20 11:16:00                                                     Desc:
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                                                                     Ninety-Second Omnibus Objection
                                                    Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   SOLIS FONSECA, LUZ D                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      59737           Undetermined*
    HC 5 BOX 5369
    YABUCOA, PR 00767

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   SOTO COLON, DANIELA                                                                     6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      51976           Undetermined*
    CALLE #1 #35 VILLAS DE RIO CANAS
    RIO CANAS ABAJO
    JUANA DIAZ, PR 00795

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   SUAREZ ARZON, SORIMAR                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      63382           Undetermined*
    URB. CITY PALACE 2
    CALLE LA SELECPA BOX 1508
    NAGUABO, PR 00718

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   TAPIA MULERO, MARISOL                                                                   6/27/2018      17 BK 03566-LTS Employees Retirement System of the               54842           Undetermined*
    CARRTERA 186 KM 07 BARRIO LOMAS YAYA                                                                                   Government of the Commonwealth
    CARRETERA 907                                                                                                          of Puerto Rico
    CANOVANAS, PR 00729

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
5   TORO CRUZ, MYRNA                                                                        6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      53773               $ 16,800.00
    PO BOX 2525
    SAN GERMAN, PR 00638-2525

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   TORRADO PEREZ, CAROLE                                                                    7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      155899          Undetermined*
    HC 3 BOX 50202
    ARECIBO, PR 00659

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
7   TORRADO VELEZ, DOMIGO                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the               62160           Undetermined*
    CALLE 9A #87B                                                                                                          Government of the Commonwealth
    PUEBLO NUEVO                                                                                                           of Puerto Rico
    VEGA BAJA, PR 00693



            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 4
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                                                                      Ninety-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
8    TORRES MATEO, MIGDALIA                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the               63404           Undetermined*
     PO BOX 2315                                                                                                            Government of the Commonwealth
     SALINAS, PR 00751                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
9    TORRES MULER, TERESA                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the               60878           Undetermined*
     FRANCISCO OLLER CALLE 1 A-10                                                                                           Government of the Commonwealth
     BAYAMON, PR 00953                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
10   TORRES RIVERA, JOSE                                                                     6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      51640           Undetermined*
     6495 PASEO ATOCHA
     PONCE, PR 00731

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   TORRES RIVERA, JOSE A                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      56287           Undetermined*
     CALLE SEGUNDO
     BERNIER 30 APT 2
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   TORRES RODRIGUEZ, GIL S.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      62096           Undetermined*
     CARRETERA 143 KM 46.0
     OROCOVIS, PR 00720

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
13   TORRES SANTIAGO, ELIDA                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      113465          Undetermined*
     HC-3 BOX 14855
     YAUCO, PR 00698

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 4
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                                                                      Ninety-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
14   TORUN ROINDA, DOPL                                                                      5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      27927           Undetermined*
     HC 05 BOX 5955
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
15   VARGAS QUINONES, MARIA DE LOS A.                                                        6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      89844           Undetermined*
     10605 BURLWOOD DR.
     LEESBURG, FL 34788

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   VARGAS SOTO , VILMA F.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      71529           Undetermined*
     APARTADO283 HATILLO
     CAMUY, PR 00659

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   VARGAS SOTO, VILMA F.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      62456           Undetermined*
     APARTADO283 HATILLO
     CAMUY, PR 00659

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   VAZQUES GOLARZO, ROSA I.                                                                6/19/2018      17 BK 03566-LTS Employees Retirement System of the               73665              $ 18,000.00*
     URB. VILLA ALBA CALLE 3 #18                                                                                            Government of the Commonwealth
     SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
19   VAZQUEZ MARTINEZ, JUANA                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      54111           Undetermined*
     HC 7 BOX 3498
     PONCE, PR 00731-9668

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
20   VAZQUEZ MARTINEZ, NATIVIDAD                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      68209           Undetermined*
     HC 07 BOX 3498
     PONCE, PR 00731-9668

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 4
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                                                                      Ninety-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
21   VAZQUEZ MARTINEZ, NATIVIDAD                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      69983           Undetermined*
     HC 7 BOX 3498
     PONCE, PR 00731-9868

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
22   VAZQUEZ MARTINEZ, NATIVIDAD                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      70457           Undetermined*
     HC 7 BOX 3498
     PONCE, PR 00731-9668

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   VEGA BORGOS, VIRGEN M.                                                                  6/26/2018      17 BK 03566-LTS Employees Retirement System of the               39971               $ 75,000.00
     EXT. PUNTO ORO #4736                                                                                                   Government of the Commonwealth
     CALLE LA PINTA                                                                                                         of Puerto Rico
     CAROLINA, PR 00728

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
24   VEGA RODRIGUEZ, NITZA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      130574          Undetermined*
     HC 04 BOX 7346
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
25   VELAZQUEZ GOTAY, MARITERE                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      62746           Undetermined*
     501 CALLE MODESTA APT 209
     SAN JUAN, PR 00924-4505

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
26   VELAZQUEZ SANTIAGO, MARIA M.                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      67372           Undetermined*
     HC 02 BOX 14251
     AGUAS BUENAS, PR 00703

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                    $ 109,800.00*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 4
